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12
                                UNITED STATES DISTRICT COURT
13

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                      OAKLAND DIVISION

16   FINJAN, INC., a Delaware Corporation,       Case No: 4:17-cv-04790-HSG
17                        Plaintiff,             DEFENDANTS’ REQUEST FOR
                                                 JUDICIAL NOTICE OF ORDER
18           v.                                  GRANTING IN PART EARLY MOTION
19   BITDEFENDER INC., a Florida Corporation,    FOR SUMMARY JUDGMENT ON ’494
     and BITDEFENDER S.R.L., a Romanian          PATENT IN FINJAN, INC. v. JUNIPER
20   Corporation,                                NETWORKS, INC.

21                        Defendants.
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     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
     RE CLAIM CONSTRUCTION                                         Case No. 4:17-cv-04790-HSG

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 1                      BITDEFENDER’S REQUEST FOR JUDICIAL NOTICE
 2           Bitdefender Inc. and Bitdefender S.R.L. (together, “Bitdefender”) file this Request for
 3   Judicial Notice of an Order Granting In Part Early Motion for Summary Judgment on Finjan’s
 4   Patent No. 8,677,494 (“the ’494 patent”) in Finjan, Inc. v. Juniper Networks, Inc., No. C 17-
 5   05659 WHA (N.D. Cal.) (the “Juniper Order”). The Juniper Order, attached hereto as Exhibit A,
 6   was made publicly available on August 31, 2018. In granting in part summary judgment in
 7   connection with the ’494 patent, which Finjan also asserted in this case, the Court construed
 8   several terms at issue before this Court. This Court held a claim construction hearing on various
 9   Finjan patents, including the ’494 patent, on June 6, 2018.
10           For convenience of the Court, the terms at issue, constructions adopted by the Juniper
11   court, and constructions proposed by Bitdefender and Finjan in this case are summarized in the
12   following table:
13
     Patent        Term from             Juniper Court’s          Bitdefender’s        Finjan’s
14   (Claims)      Juniper That Is       Adopted                  Proposed             Proposed
                   Identical or          Construction             Construction         Construction
15                 Similar to Term at
                   Issue in this Case
16   ’494          “database manager”    “a program or            “a program or        No construction
     (10, 11)                            programs that            programs that        necessary—Plain
17
                                         control a database       control a database   and ordinary
18                                       so that the              so that the          meaning. Plain and
                                         information it           information it       ordinary meaning
19                                       contains can be          contains can be      of database
                                         stored, retrieved,       stored, retrieved,   manager is
20                                       updated and              updated, and         hardware and/or
21                                       sorted”                  sorted”              software that
                                                                                       controls a
22                                                                                     database.
     ’494          “scanner”             “software that           This phrase          No construction
23   (10)                                searches code to         should be            necessary—Plain
                                         identify                 construed            and ordinary
24                                       suspicious               pursuant to 35       meaning
25                                       patterns or              U.S.C. § 112(6)
                                         suspicious               to cover the
26                                       computer                 corresponding
                                         operations”              structure
27                                                                disclosed in the
                                                                  ’494 patent,
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     RE CLAIM CONSTRUCTION                                    1

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 1                                                               namely the code
                                                                 scanner referred
 2                                                               to in the ’194
 3                                                               patent at 5:36–57,
                                                                 9:20–33, and Fig.
 4                                                               7, and equivalents

 5                                                               Alternatively, “a
                                                                 code scanner that
 6
                                                                 uses parsing
 7                                                               techniques to
                                                                 decompose code
 8                                                               into constituent
                                                                 operations and
 9                                                               identifies
                                                                 specified
10
                                                                 operations or
11                                                               patterns of
                                                                 operations”
12   ’494          “suspicious           Not indefinite          Indefinite         No construction
     (1,6, 10,     computer                                                         necessary—Plain
13   15)           operations”           “list of computer       Alternatively, “a  and ordinary
14                                       operations in a         subset of all      meaning. Plain and
                                         received                possible computer ordinary meaning
15                                       Downloadable            operations that    of “suspicious” is
                                         that are deemed         have been          “hostile or
16                                       hostile or              deemed             potentially hostile”
                                         potentially             suspicious prior
17                                       hostile”                to their inclusion
18                                                               in the list”

19           Judicial notice is warranted here given a contemporaneous order of the court construing

20   the ’494 patent. “[T]he Supreme Court has stressed the particular importance of intrajurisdictional

21   uniformity in claim construction.” Finjan, Inc. v. Symantec Corp., No. 14-cv-01998-HSG, 2017

22   WL 550453, at *3 (citing Markman v. Westview Instruments, Inc., 517 U.S. 370, 384 (1996)).

23   The interest in uniformity would seem to weigh most heavily where, as here, a court in this

24   District issues a claim construction order shortly before another is likely to be issued in the same

25   jurisdiction with few if any intervening legal developments. See Rambus v. Hynix Semiconductor

26   Inc., 569 F. Supp. 2d 946, 965 (N.D. Cal. 2008) (surveying cases including one promoting

27   “considerable deference . . . to . . . prior decisions unless overruled or undermined by subsequent

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     RE CLAIM CONSTRUCTION                                   2

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 1   legal developments” (citing Sears Petroleum & Transport Corp. v. Archer Daniels Midland Co.,
 2   No. 5:03-CV-1120 (DEP), 2007 WL 2156251, at *8 (N.D.N.Y. July 24, 2007)).
 3           For these reasons, Bitdefender requests judicial notice of the Juniper Order.
 4   Dated: September 5, 2018                     KALPANA SRINIVASAN
                                                  OLEG ELKHUNOVICH
 5                                                MICHAEL ADAMSON
                                                  SUSMAN GODFREY L.L.P.
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                                                  IAN B. CROSBY
 7                                                SUSMAN GODFREY L.L.P.
 8                                        By:   /s/ Michael Adamson
 9                                                Michael Adamson

10                                                Attorneys for Defendants Bitdefender S.R.L. and
                                                  Bitdefender Inc.
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     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE                                  Case No. 4:17-cv-04790-HSG
     RE CLAIM CONSTRUCTION                                  3

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